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                               iJNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORI~TIA


                                     CRIMINAL MINUTES -GENERAL
 Case No. 8:18-cr-06-AG                                                      Date December 1, 202:1
  Title          United States v. Luis Bojorquez



 Present: The Honorable Margo A. Rocconi, United States Magistrate Judge
                      Erica Bustos                                             n/a
                      Deputy Clerk                                   Court Reporter /Recorder
           Attorneys Present for Government:                     Attorneys Present for Defendant:
                           n/a                                                  n/a
 Proceedings:              ORDER OF DETENTION —SUPERVISED RELEASE ALLEGATION

      The Court conducted a detention hearing pursuant to Federal Rule of Criminal
Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a)following Defendant's arrest for alleged
violations) ofthe terms ofDefendant's ❑probation / ~ supervised release.


      The Court finds that Defendant has not carried his/her burden of establishing by clear and
convincing evidence [18 U.S.C. § 3142(b-c)] that Defendant:
                  ~      will appear for further proceedings as required ifreleased.
                  O      will not endanger the safety of any other person or the community if
                         released.


          The Court bases its findings on the following:
                 ~       Allegations in petition
                  ❑      Lack of bail resources
                  ❑      No stable residence or employment
                 ❑       Ties to foreign countries
                 ~       Previous failure to appear or violations of probation, parole, or release
                 ❑       Nature of previous criminal convictions
                 O       Substance abuse


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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA


                                     CRIMINAL MINUTES -GENERAL
  Case No.         8:18-cr-06-E1G                                           Date   December 1, 2021
  Title            United States v. Luis Bojorquez


                    ❑      Already in custody on state or federal offense

                    ❑      Refusal to interview with Pretrial Services

                    n

          ~,        Defendant did not oppose the detention request.


                                                     * **
      IT TS THEREFORE ORDERED that the defendant be detained pending further
proceedings.




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